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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

       SENTRY DATA SYSTEMS, INC.

                                 Plaintiff,

                v.                                        Case No. 18-cv-60257-BLOOM/VALLE

       CVS PHARMACY, INC., and                                    JURY TRIAL DEMANDED
       WELLPARTNER, LLC,

                                Defendants.


                               (REDACTED) AMENDED COMPLAINT1

           Plaintiff Sentry Data Systems, Inc. (“Sentry”) by and through its undersigned attorneys,

   brings this action for trebled compensatory damages and injunctive relief under the antitrust laws

   of the United States, and for compensatory and punitive damages and injunctive relief under

   state law, against the above-named Defendants, demanding a trial by jury. For its Complaint

   against Defendants, Plaintiff alleges the following:

                                       NATURE OF THE ACTION

           1.        Plaintiff Sentry is an innovator and a leader in the healthcare information

   technology field. Sentry provides platform software and technology solutions to hospitals and

   pharmacies participating in the 340B Drug Pricing Program, a vital federal program designed to

   expand access to health care to underserved patient populations. Defendants CVS Pharmacy,

   Inc. ( “CVS”), and Wellpartner, LLC ( “Wellpartner”), developed their businesses using Sentry’s




   1
    Pursuant to Rule 5.4(b), Sentry filed a motion to file this Amended Complaint under seal, Dkt.
   120. The Court had not addressed the motion by the time of filing. Accordingly, pursuant to the
   Rule, Sentry is filing a redacted version of the Amended Complaint pending the Court’s decision
   on its motion to seal.
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   proprietary, confidential and trade secret business information, information protected by non-

   disclosure agreements and other contracts between the parties. In violation of federal antitrust

   law, and following CVS’s recent acquisition of Wellpartner, Defendants began forcing Plaintiff’s

   customers to switch from using Sentry’s platform and technology solutions to using

   Wellpartner’s services as a condition of access to CVS’s pharmacy services, a “must have” for

   many hospitals and health clinics participating in the 340B program. Defendants also

   misappropriated Sentry’s trade secrets in violation of state and federal law, breached their

   contracts with Sentry, and committed numerous other state law torts at Sentry’s expense.

                                             THE PARTIES

          2.      Plaintiff Sentry Data Systems, Inc. is incorporated under the laws of Florida, with

   its principal place of business at 800 Fairway Drive, Suite 400, Deerfield Beach, Florida, 33441.

          3.      Defendant CVS Pharmacy, Inc. (“CVS”) is incorporated under the laws of Rhode

   Island, with its principal place of business at One CVS Drive, Woonsocket, Rhode Island, 02895.

          4.      Defendant Wellpartner, LLC, is organized under the laws of Delaware, with its

   principal place of business at 20800 S.W. 115th Avenue, Suite 100, Tualatin, Oregon, 97062.

          5.      Although CVS acquired Wellpartner in 2017, Wellpartner continues to operate as

   a legally separate, distinct entity from CVS.

                            STANDING, JURISDICTION, AND VENUE

          6.      Plaintiff brings this action to recover damages, including treble damages, cost of

   suit, and reasonable attorney’s fees, as well as injunctive relief, arising from Defendants’ violations

   of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1.

          7.      This Court has subject matter jurisdiction of the Plaintiff’s federal claims pursuant

   to 28 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1337 (commerce and antitrust regulation).


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           8.      Plaintiff has standing to bring this action under Sections 4 and 16 of the Clayton

   Act, 15 U.S.C. §§ 15, 26.

           9.      This Court has subject matter jurisdiction of the Plaintiff’s pendent state law claims

   pursuant to 28 U.S.C. § 1367, and pursuant to 28 U.S.C. § 1332. Each of the Plaintiff’s state law

   claims arises out of the same factual nucleus as the Plaintiff’s federal law claims.

           10.     This Court has personal jurisdiction over each Defendant and venue is proper in the

   Southern District of Florida under Sections 4 and 12 of the Clayton Act, 15 U.S.C. §§ 15, 22, and

   28 U.S.C. § 1391, and under Florida’s long-arm statute, Fla. Stat. § 48.193. Both Defendants do

   business in Florida, and the acts and practices alleged herein were committed in part in Florida,

   causing injury to Sentry and to third parties within Florida. Certain contracts between Plaintiff

   and certain of the Defendants require those Defendants to consent to the jurisdiction of, and venue

   in, this Court for purposes of all legal proceedings arising out of those agreements, which are at

   issue in this action.

           11.     Defendants are engaged in, and their activities substantially affect, interstate trade

   and commerce.

                               THE 340B DRUG PRICING PROGRAM

           12.     The Veterans Health Care Act of 1992 established the 340B program in section

   340B of the Public Health Service Act, 42 U.S.C. § 256b. The 340B program requires drug

   manufacturers participating in Medicaid to provide discounts on certain outpatient drugs to

   certain eligible health care entities, known as covered entities. Covered entities include hospitals

   and community health centers serving a significantly disproportionate share of low-income

   patients (called disproportionate share hospitals or “DSHs”), among other provider types. More

   than 6,000 covered entities participated in the 340B program in 2017.



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          13.     Congress intended for the savings from 340B-purchased drugs “to enable

   [covered] entities to stretch scarce Federal resources as far as possible, reaching more eligible

   patients and providing more comprehensive services.” H.R. Rep. No. 102-384 (Part 2), at 12

   (1992) (Conf. Rep.). The benefits available through participation in the 340B program support

   and further the safety net mission of covered entities, allowing covered entities to save and

   generate revenues that will offset losses incurred in other areas of their business such as

   Medicare, charitable patient care, and care provided to underinsured, uninsured, and indigent

   patients. The 340B program is budget-neutral for the federal government.

          14.     To participate in the 340B program, covered entities must register with the Health

   Resources and Services Administration (“HRSA”), the agency responsible for administering the

   program via the Office of Pharmacy Affairs. HRSA adds covered entities to its database after

   receiving and approving their registration forms. Covered entities must annually sign an

   agreement re-certifying that they meet 340B program requirements and that their information in

   the database is correct.

          15.     Once approved, covered entities may purchase covered outpatient drugs under the

   340B Program from drug manufacturers at or below the 340B ceiling price, which is typically

   well below prevailing wholesale prices. According to an analysis by Pembroke Consulting,

   more than $16 billion of discounted drugs were sold under the 340B program in 2017. Although

   the workflows associated with the 340B program can be complex, as described in detail below,

   in general the program allows covered entities to purchase covered drugs at the 340B ceiling

   price, and to dispense them (either directly or through third-party contract pharmacies) at the

   negotiated contract price with third-party payers, including Medicare and private insurers. The

   difference between the ceiling price and the negotiated third-party contract price, minus any fees



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   paid to third-party program administrators and/or contract pharmacies, is the surplus realized by

   the covered entity through participation in the 340B program.

          16.     In order for these savings to be captured, the prescription must be filled.

          17.     Covered entities are not permitted (and have never been permitted) to steer

   patients to any particular pharmacy (in-house or contract pharmacy).

          18.     Covered entities may dispense 340B drugs to their patients either directly or

   through third-party contract pharmacies. Because hospital-owned retail pharmacies are often not

   convenient to the public, have limited hours, and serve only a small part of a covered entity’s

   patient mix, many covered entities engage contract pharmacies to dispense 340B-purchased

   drugs on their behalf. Engaging with contract pharmacies can allow covered entities to reach a

   greater percentage of their patient population, creating a continuum of care and potentially

   enhancing the revenues available through participation in the 340B program.

          19.     If a patient chooses to fill a prescription at a pharmacy that the covered entity

   does not contract with, the covered entity cannot receive any benefits or savings from the 340B

   program, even if all eligibility requirements are otherwise met. Those savings are thus lost.

          20.     Covered entities must comply with the 340B statute and relevant HRSA guidance,

   and are responsible for the compliance of their contract pharmacies as well.

          21.     Covered entities may dispense 340B-purchased drugs only to eligible patients,

   meaning among other things that the covered entity has established a relationship with the

   individual, and that the individual receives health care services from a health care professional

   affiliated with the covered entity such that the covered entity is responsible for the care provided.

   Dispensing 340B-purchased drugs to ineligible patients, a practice known as diversion, is

   prohibited by law.



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          22.     To prevent diversion, covered entities identify which prescriptions filled at their

   contract pharmacies will be categorized as 340B-eligible. Covered entities and their contract

   pharmacies may dispense 340B-purchased drugs only to individuals who meet all applicable

   components of HRSA’s patient definition. Those individuals can, however, fill any of their

   prescriptions at a covered entity’s contract pharmacy, and not just those that originate from the

   covered entity. As a result, if a covered entity does not consider all prescriptions for an

   individual to be 340B-eligible, the covered entity must determine 340B eligibility at the

   prescription level.

          23.     Subjecting drug manufacturers to duplicate discounts on 340B-purchased drugs is

   also prohibited by law. Duplicate discounts occur when a drug manufacturer pays a State

   Medicaid agency a rebate under the Medicaid drug rebate program on a drug sold at the already-

   discounted 340B price. To avoid Medicaid duplicate discounts in contract pharmacy

   arrangements, covered entities must either not dispense 340B-purchased drugs to Medicaid

   beneficiaries through their contract pharmacies, or make arrangements with relevant State

   Medicaid agencies to prevent duplicate discounts.

          24.     HRSA guidance recommends that covered entities conduct oversight activities for

   their contract pharmacy arrangements, including monitoring their contract pharmacy

   arrangements by periodically comparing the covered entity’s prescribing records with the

   contract pharmacies’ dispensing records to detect irregularities (e.g., potential diversion or

   duplicate discounts), and retaining independent auditors to perform annual audits. HRSA also

   audits covered entities to ensure compliance with the requirements of the 340B program.

          25.     Third parties, often known as 340B Solutions Providers, often assist covered

   entities in the complex task of identifying 340B-eligible prescriptions through specialized



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   tracking software to prevent diversion and duplicate discounts, and in maintaining an auditable

   record of 340B workflows and payments.

          26.     A sample 340B workflow involving a covered entity utilizing the services of

   contract pharmacies may proceed as follows, although the specific workflow between a covered

   entity, contract pharmacy, and 340B Solutions Provider will vary based on the terms of their

   relationship. When a covered entity’s patients fill their prescription at a contract pharmacy, the

   contract pharmacy will (if the patient is insured) send a payment request to a third-party payer,

   such as a Pharmacy Benefits Manager (“PBM”). The third-party payer will reimburse the

   contract pharmacy for the prescribed drugs at the standard contractual price, which is typically

   higher than the 340B price. On an agreed upon schedule, the contract pharmacy will send to the

   340B Solutions Provider records of all drugs dispensed. Using tracking software, the 340B

   Solutions Provider will match the data from the covered entity and the contract pharmacy to

   determine which dispensed drugs are eligible for 340B pricing. The 340B Solutions Provider

   will send a report, often called an accumulation report, of the eligible dispensed drugs to the

   covered entity, which is used by the covered entity to re-order or replenish the 340B eligible

   drugs dispensed by the contract pharmacy. The ordering or replenishment is usually done by the

   340B Solutions Provider on behalf of the covered entity. The covered entity (or the contract

   pharmacy or 340B Solutions Provider acting on behalf of the covered entity) will purchase the

   replenishment drugs at 340B prices using the covered entity’s 340B purchasing account. An

   invoice will be sent to the covered entity for payment, while the replenishment drugs will be

   shipped by the 340B wholesale drug distributor directly to the contract pharmacy. This is known

   as a bill to/ship to arrangement. At an agreed upon schedule, the contract pharmacy will report

   to the 340B Solutions Provider the amounts it has collected for the 340B drugs sold. The



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   contract pharmacy will, after withholding a negotiated fee, pay to the covered entity the

   remaining amount. The covered entity will use the amount received to pay the 340B invoices,

   and use the amount remaining, which are the 340B savings to the covered entity, to provide other

   services to its patients.

           27.     Because the risk of non-compliance grows with every additional 340B Solutions

   Provider due to the scattered location of data and the lack of a single data portal or dashboard to

   track compliance, covered entities generally prefer to use a single 340B Solutions Provider.

                                     CONTRACT PHARMACIES

           28.     Covered entities pay a fee to contract pharmacies for their services, commonly

   known as an enhanced dispensing fee. The contract between a covered entity and a contract

   pharmacy is often known as a Pharmacy Services Agreement (“PSA”).

           29.     A contract pharmacy relationship involves substantial implementation and

   administrative costs to the covered entity and several risks. For example, under the

   replenishment method utilized by most covered entities and contract pharmacies, covered entities

   may be required to replenish drugs at full price if the contract pharmacy does not fill enough

   340B eligible prescriptions. This requirement results in a loss of savings to the covered entity.

           30.     As a result, covered entities seek to contract with pharmacies that will be filling

   large volumes of prescriptions for their patients. Because a covered entity cannot steer its

   patients to any particular pharmacy, it must determine where its patients seek pharmacy services

   to identify the contract pharmacies where that particular covered entity can realize savings from

   the 340B program.

           31.     Because covered entities realize savings only if their patients fill prescriptions at

   pharmacies under contract with the covered entities, covered entities typically seek to contract

   with a number of pharmacies in order to avoid losing savings that could have been realized from
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   the 340B eligible prescriptions. However, initial implementation and administration costs and

   the associated compliance risk increase as the number of a covered entity’s contract pharmacies

   increase.

          32.       As a result, covered entities typically do not choose to contract with every

   pharmacy that their patients visit. Instead, covered entities choose the pharmacies that have the

   most locations and the highest volume so that the covered entities can realize the greatest savings

   under the 340B program while still maintaining a manageable number of contract pharmacy

   relationships.

          33.       National and regional chain pharmacies dominate the 340B contract pharmacy

   market because they tend to have the highest 340B prescription volumes, provide the most

   locations, and have the widest access to 340B program drugs, including specialty drugs.

   National and regional chain pharmacies are more desirable to covered entities as contract

   pharmacies than are independent pharmacies because chain pharmacies are easier for covered

   entities to identify and work with. Pharmacy chains typically have streamlined approval and

   implementation processes that make chains more desirable as contract pharmacies than are

   independent pharmacies.

          34.       According to a Pembroke Consulting analysis, there were nearly 20,000 separate

   pharmacy locations participating in the 340B program as contract pharmacies in 2017. However,

   not all contract pharmacies are equally attractive candidates for inclusion in a covered entity’s

   network. The costs of setting up and administering contract pharmacy relationships drives

   covered entities to look for relationships with the pharmacies with the highest volume, broadest

   access to 340B-eligible drugs, and most convenient locations for their patients. According to a

   2017 Pembroke Consulting Analysis, six retail pharmacy chains—Walgreens, CVS, Walmart,



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   Rite Aid, Kroger, and Albertsons—account for two-thirds of 340B contract pharmacy locations.

   Although Walgreens is the single largest contract pharmacy, it is among the slowest growing of

   the major contract pharmacy chains, increasing its number of contract pharmacy locations by just

   19 percent since 2013. CVS, the second largest contract pharmacy, has increased its contract

   pharmacy locations by 281 percent over the same period.

          35.    Both Walgreens and CVS are regarded by many covered entities interested in

   assembling networks of contract pharmacies to be “must have” providers of 340B contract

   pharmacy services. According to a 2017 Pembroke Consulting analysis, each of the top ten

   DSHs with the largest 340B contract pharmacy networks included CVS within their network.

   Other than Walgreens, no other pharmacy chain appeared in the contract pharmacy networks of

   each of the top ten DSHs with the largest 340B contract pharmacy networks.

          36.    CVS is a dominant firm in the 340B contract pharmacy market, due to its leading

   position in three related markets, namely the retail pharmacy, specialty pharmacy, and pharmacy

   benefits manager (“PBM”) markets. CVS’s suite of integrated and market-leading assets are

   unique and gives CVS sustainable competitive advantages over other providers of 340B contract

   pharmacy services, none of which match CVS’s market presence in any of the three pillars of

   CVS’s dominance. In particular, CVS’s large retail footprint, its leading role as PBM and its

   unmatched ability to provide access to specialty pharmaceuticals make CVS very attractive to

   third-party payers, who contract with CVS to provide services for managing drug formularies,

   medical benefits, and site of care management, and often appoint CVS as their exclusive or

   preferred supplier of specialty pharmaceuticals. This broad network of exclusive and preferred

   payer contracts in turn require many 340B covered entities to contract with CVS in order to

   obtain access to the pharmacies that CVS uses to serve the covered lives of those payers, making



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   CVS a “must have” contract pharmacy for many covered entities. CVS boasts in its public

   statements that “We own the last mile of care through our unmatched patient touchpoints,”

   including retail and specialty pharmacy. According to CVS, its “unparalleled scale in the U.S.

   make[s] us a low-cost provider.”

          37.     One cause of CVS’s status as a “must have” contract pharmacy provider is its

   large and growing market share in the retail pharmacy market. CVS has 9,800 retail pharmacy

   locations in 49 states and Puerto Rico. In its 2016 Securities and Exchange Commission Form

   10-K filing, CVS stated that it “held approximately 23.8% of the United States retail pharmacy

   market.” In 2017, CVS stated that it had a 24 percent share of the U.S. prescription drug market.

   Between 2010 and 2015, CVS increased its share of the U.S. prescriptions dispensed, capturing

   39 percent of market growth over that period. Because covered entities seek to deal with

   contract pharmacies located in close proximity to their patient population, CVS’s national market

   share in the retail pharmacy market understates its competitive significance as a 340B contract

   pharmacy. According to CVS, 76 percent of the population of the United States lives within 5

   miles of a CVS pharmacy, and 82 percent lives within 10 miles. In its 2015 Securities and

   Exchange Commission Form 10-K filing, CVS disclosed that it operated in “98 of the top 100

   United States drugstore markets” and held “the number one or number two market share in 93 of

   these markets.” For example, CVS controls over 50 percent of the retail pharmacy market in

   Washington DC, Boston, Providence, and Honolulu. CVS is also the largest retail clinic operator

   in the United States, with more than 1,100 MinuteClinics across the country.

          38.     CVS’s dominant position in the retail pharmacy markets is protected by

   substantial barriers to entry. CVS’s CEO, Larry Merlo, himself acknowledged as much in a

   recent interview discussing the possibility of competitive entry: “There are many barriers to



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   entry when you’re looking at pharmacy. Most people are thinking about pharmacy as another

   distribution point, but pharmacy is also about the clinical outcomes that are provided. In an

   environment where there’s a migration more value based care, those clinical capabilities are

   going to continue to grow in importance. It’s highly regulated, so the barriers to entry are high.”

          39.     Another pillar of CVS’s dominance as a 340B contract pharmacy is its PBM

   business, conducted through CVS Caremark. Health plans provide insurance to consumers, and

   contract with PBMs to negotiate rebates with pharmaceutical manufacturers and to assemble

   networks of retail and specialty pharmacies to service the covered lives of those health plans.

   CVS Caremark is the largest PBM in the United States, with a nearly 30 percent share of the

   PBM market and nearly 90 million plan members. CVS can and does steer patients insured by

   health plans serviced by its PBM to its retail and specialty pharmacies. In 2014, CVS stated

   publicly that nearly 60 percent of specialty pharmaceutical prescriptions managed by CVS

   Caremark were dispensed through CVS or its affiliated companies. In 2015, CVS stated publicly

   that approximately 40 percent of prescriptions managed by CVS Caremark were dispensed

   through CVS or its affiliated companies.

          40.     Another cause of CVS’s status as a “must have” contract pharmacy provider is its

   growing dominance in the dispensing of so-called specialty pharmaceuticals, including high-cost

   treatments for rare or uncommon diseases that have special development, handling,

   administrative and monitoring requirements. In 2016, CVS estimated its 2015 market share of

   specialty pharmaceuticals by dispensed revenue to be 30 percent, 12 percentage points higher

   than its nearest competitor. In 2015, CVS stated that it is also the fastest growing specialty

   pharmacy, and in 2017 CVS stated that it had captured approximately 40 percent of specialty

   market growth since 2013. CVS touts its suite of retail pharmacy and PBM assets as a



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   competitive advantage that specialty pharmaceutical rivals cannot meet. For example,

   approximately half of CVS’s specialty pharmaceuticals are dispensed to patients through CVS’s

   retail pharmacy locations, giving patients easy, local access to specialty pharmaceuticals, and

   enhancing prescription adherence, in ways that mail order rivals cannot match. CVS’s

   dominance in dispensing specialty pharmaceuticals covered by the 340B program through retail

   pharmacies is even greater, as the next largest retail pharmacy chain in the dispensing of

   specialty pharmaceuticals was Walgreens, with a 10 percent market share of all specialty

   pharmaceutical revenues, followed by Kroger and Walmart, each with 1 (one) percent market

   shares. Thus, CVS’s market share of specialty pharmaceuticals covered by the 340B program

   sold through retail pharmacies is, upon information and belief, approximately 60 percent, a

   figure which has remained relatively constant for several years.

          41.        CVS’s dominant position in dispensing specialty pharmaceuticals to 340B

   participants is protected by substantial barriers to entry confronting new competitors. One such

   barrier to entry is access to specialty pharmaceuticals. For many specialty drugs, manufacturers

   limit and manage the specialty pharmacies eligible to dispense these expensive medications.

   According to CVS, it offers covered entities unmatched access to specialty drugs, with 99

   percent of specialty drugs available through CVS. A July 2018 presentation by CVS identified

   over 150 specialty pharmaceuticals distributed by CVS that were subject to limited distribution.

   CVS has access to specialty pharmaceuticals that other specialty pharmacies do not. For

   example, in a 2016 presentation, CVS presented its analysis of specialty pharmacy access to all

   FDA approved limited distribution drugs launched between January 2015 and October 2016.

   CVS had access to 30 such drugs, while four other competitors had access to 25, 25, 26 and 29

   of those drugs.



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          42.     Another barrier to entry protecting CVS’s position in dispensing specialty

   pharmaceuticals through the 340B program is the fact that third-party payers (including

   commercial insurers and providers of Medicare Advantage, and Medicare Part D Prescription

   Drug plans) can and do influence where prescriptions for specialty pharmaceuticals may be

   filled. CVS’s status as the largest PBM in the United States (through CVS’s Caremark business)

   allows it to force patients and third-party payers to utilize CVS as their specialty pharmacy, as

   demonstrated by more than 1,000 exclusive or preferred arrangements that CVS has with third-

   party payers. These preferred arrangements often take the form of disincentives, or penalties, for

   the use of non-CVS specialty pharmacies. CVS’s exclusive and preferred arrangements with

   third-party payers create a substantial barrier to entry for competing specialty pharmacies

   seeking to provide specialty pharmaceuticals in the specific local markets served by the third-

   party payers. These exclusive and preferred arrangements with third-party payers also enhance

   CVS’s status as a “must have” contract pharmacy for covered entities seeking to dispense

   outpatient pharmaceuticals to patients insured by third-party payers that are in exclusive or

   preferred arrangements with CVS. Covered entities operating in markets where a significant

   percentage of the patient population are insured by third-party payers in an exclusive or preferred

   arrangement with CVS for specialty pharmaceuticals risk substantial revenue loss if they lose

   access to CVS as a 340B contract pharmacy.

          43.     Nationwide, CVS is the exclusive supplier of specialty pharmaceuticals for

   approximately 35 million Americans covered by various health insurance plans, bolstering

   CVS’s status as a “must have” contract pharmacy nationwide.

          44.     Aetna, the third largest U.S. health insurer with more than 23 million covered

   lives, outsources part of its PBM operations to CVS Health’s Caremark business. Caremark



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   manages the purchasing, inventory management, and prescription fulfillment of Aetna’s mail

   order and specialty pharmacies. Aetna’s in-house specialty pharmacy is the preferred specialty

   pharmacy for Aetna members. Aetna-insured patients that go out of network can incur higher

   cost, additional expenses, or non-coverage. Because all of Aetna’s specialty business runs

   through CVS, CVS is effectively the preferred specialty pharmacy for Aetna’s members. Certain

   Aetna plans, including Aetna Better Health of Virginia, identify CVS as “our exclusive specialty

   provider for specialty medications for our members.” CVS’s status as the preferred supplier of

   specialty pharmaceuticals to Aetna enhances CVS’s status as a “must have” contract pharmacy

   nationwide.

          45.     CVS is the exclusive provider of specialty pharmaceuticals for Blue Shield

   California, the third largest health insurer in the state of California, with over 4 million covered

   lives. Blue Shield California has an approximately 15 percent share of the market for small-

   group (1-100 employees) benefit plans in California, and approximately 13 percent of the market

   for large-group (over 100 employees) benefit plans in California. CVS’s status as the exclusive

   provider of specialty pharmaceuticals for Blue Shield California enhances CVS’s status as a

   “must have” 340B contract pharmacy for covered entities seeking to dispense outpatient

   pharmaceuticals to patients located in California.

          46.     CVS is one of only two specialty pharmacies contracted with CareFirst, the

   largest health insurer serving Maryland, the District of Columbia, and parts of Northern Virginia,

   with over 3.2 million covered lives. CareFirst has an approximately 60 percent share of the

   market for health insurance for small-group and large-group benefit plans in Maryland.

   CareFirst also has an approximately 40 percent share of the market for small-group benefit plans

   in the District of Columbia, and 20 percent of the market for large-group benefit plans in the



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   District of Columbia. CVS’s status as one of two preferred providers of specialty

   pharmaceuticals for Carefirst enhances CVS’s status as a “must have” 340B contract pharmacy

   for covered entities seeking to dispense outpatient pharmaceuticals to patients located in

   Maryland, the District of Columbia, and parts of Northern Virginia.

          47.     CVS is the preferred specialty pharmacy of BlueCross BlueShield South Carolina

   (“BCBS South Carolina”), the largest health insurer serving South Carolina. BCBS South

   Carolina has an approximately 80 percent share of the market for small-group benefit plans in

   South Carolina, and 89 percent of the market for large-group benefit plans in South Carolina.

   CVS’s status as the preferred provider of specialty pharmaceuticals for BCBS South Carolina

   enhances CVS’s status as a “must have” 340B contract pharmacy for covered entities seeking to

   dispense outpatient pharmaceuticals to patients located in South Carolina.

          48.     CVS is the exclusive specialty pharmacy of Harvard Pilgrim, the second largest

   health insurer serving Massachusetts. Harvard Pilgrim has an approximately 23 percent share of

   the market for small-group benefit plans in Massachusetts, and 14 percent of the market for

   large-group benefit plans in Massachusetts. Harvard Pilgrim also has an approximately 41

   percent share of the market for small-group benefit plans in New Hampshire, and 35 percent of

   the market for large-group benefit plans in New Hampshire. CVS’s status as the exclusive

   provider of specialty pharmaceuticals for Harvard Pilgrim enhances CVS’s status as a “must

   have” 340B contract pharmacy for covered entities seeking to dispense outpatient

   pharmaceuticals to patients located in Massachusetts and New Hampshire.

          49.     CVS is one of two specialty pharmacies contracted with Anthem BlueCross

   BlueShield in Indiana (“Anthem”), the largest commercial insurer in the state. Anthem has an

   approximately 48 percent share of the market for small-group benefit plans in Indiana, and 62



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   percent of the market for large-group benefit plans in Indiana. CVS’s status as one of two

   dispensers of specialty pharmaceuticals for Anthem enhances CVS’s status as a “must have”

   340B contract pharmacy for covered entities seeking to dispense outpatient pharmaceuticals to

   patients located in Indiana.

          50.     CVS is the exclusive supplier of most specialty pharmaceuticals for

   HealthPartners, the largest commercial insurer in Minnesota. HealthPartners has an

   approximately 45 percent share of the market for small-group benefit plans in Minnesota, and 46

   percent of the market for large-group benefit plans in Minnesota. CVS’s status as the exclusive

   provider of specialty pharmaceuticals for HealthPartners enhances CVS’s status as a “must have”

   340B contract pharmacy for covered entities seeking to dispense outpatient pharmaceuticals to

   patients located in Minnesota.

          51.     CVS is one of two preferred providers of specialty pharmaceuticals to Wellmark

   Blue Cross Blue Shield (“Wellmark”), the leading health insurance company in Iowa and South

   Dakota. Wellmark has an approximately 81 percent share of the market for small-group benefit

   plans in Iowa, and 78 percent of the market for large-group benefit plans in Iowa. Wellmark has

   an approximately 66 percent share of the market for small-group benefit plans in South Dakota,

   and 55 percent of the market for large-group benefit plans in South Dakota. CVS’s status as one

   of two preferred providers of specialty pharmaceuticals for Wellmark enhances CVS’s status as a

   “must have” 340B contract pharmacy for covered entities seeking to dispense outpatient

   pharmaceuticals to patients located in Iowa and South Dakota.

          52.     CVS is the exclusive supplier of specialty pharmaceuticals to the Sharp Health

   Plan of San Diego, a HMO with 130,000 covered lives. CVS’s status as the exclusive provider of

   specialty pharmaceuticals for the Sharp Health Plan enhances CVS’s status as a “must have”



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   340B contract pharmacy for Sharp Memorial Hospital, a major disproportionate share hospital in

   San Diego and the sponsor of the Sharp Health Plan.

          53.     CVS is the preferred or exclusive supplier of specialty pharmaceuticals to

   CareSource, an insurer active in Ohio, Kentucky, Indiana, Georgia and West Virginia with over

   1 million covered lives. CVS’s status as the preferred or exclusive supplier of specialty

   pharmaceuticals to CareSource enhances CVS’s status as a “must have” contract pharmacy for

   covered entities seeking to prescribe outpatient pharmaceuticals to patients located in Ohio,

   Kentucky, Indiana, Georgia and West Virginia.

          54.     CVS is one of two preferred suppliers of specialty pharmaceuticals to Florida

   Blue, an insurer serving the State of Florida, and the exclusive supplier of certain injectable

   specialty pharmaceuticals to Florida Blue’s HMO serving Miami-Dade, Broward, Palm Beach,

   Indian River, Okeechobee, Martin and St. Lucie counties. Florida Blue has an approximately 32

   percent share of the market for small-group benefit plans in Florida, and 49 percent of the market

   for large-group benefit plans in Florida. CVS’s status as one of two preferred providers of

   specialty pharmaceuticals for Florida Blue enhances CVS’s status as a “must have” 340B

   contract pharmacy for covered entities seeking to dispense outpatient pharmaceuticals to patients

   located in Florida.

          55.     CVS is the preferred supplier of specialty pharmaceuticals to Blue Cross of Idaho,

   an insurer serving the State of Idaho, and the exclusive supplier of certain specialty

   pharmaceuticals to Blue Cross of Idaho.     Blue Cross of Idaho has an approximately 46 percent

   share of the market for small-group benefit plans in Idaho, and 65 percent of the market for

   large-group benefit plans in Idaho. CVS’s status as the preferred, and in some cases exclusive,

   supplier of specialty pharmaceuticals for Blue Cross of Idaho enhances CVS’s status as a “must



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   have” 340B contract pharmacy for covered entities seeking to dispense outpatient

   pharmaceuticals to patients located in Idaho.

          56.     CVS is the preferred supplier of specialty pharmaceuticals to the Government

   Employees Health Association, Inc. (“GEHA”), the second-largest plan in the Federal

   Employees Health Benefits Program. GEHA insures 1.8 million patients nationwide. CVS’s

   status as the preferred supplier of specialty pharmaceuticals to GEHA enhances CVS’s status as

   a “must have” contract pharmacies for covered entities nationwide.

          57.     CVS is the preferred or exclusive supplier of specialty pharmaceuticals to MVP

   Healthcare, an insurer serving New York and Vermont. CVS’s status as the preferred or

   exclusive supplier of specialty pharmaceuticals to MVP Healthcare enhances CVS’s status as a

   “must have” contract pharmacy for covered entities seeking to dispense outpatient

   pharmaceuticals to patients located in New York and Vermont.

          58.     Effective October 1, 2018, CVS will be the exclusive supplier of specialty

   pharmaceuticals for Physician’s Health Plan of Michigan, a dominant HMO in the Lansing,

   Michigan area. CVS’s status as the exclusive provider of specialty pharmaceuticals for the

   Physician’s Health Plan of Michigan will enhance CVS’s status as a “must have” 340B contract

   pharmacy in Michigan.

          59.     CVS is the exclusive supplier of over 200 specialty pharmaceuticals for

   BlueCross BlueShield of Western New York (“BCBS WNY”). CVS’s status as the exclusive

   provider of specialty pharmaceuticals for BCBS WNY enhances CVS’s status as a “must have”

   340B contract pharmacy in at least the following eight counties in western New York, where

   BCBS WNY has a 23 percent share of insured lives: Allegany, Cattaraugus, Chautauqua, Erie,

   Genesee, Niagara, Orleans, and Wyoming.



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          60.     CVS is also a preferred pharmacy, including specialty pharmacy, in many major

   Medicare Part D Prescription Drug Plans in regional insurance markets across the country,

   covering more than 8 million covered lives in 2018. CVS’s status as a preferred pharmacy for

   Medicare Part D Prescription Drug Plans across the country enhances CVS’s status as “must

   have” contract pharmacy for covered entities nationwide.

          61.     CVS is the exclusive supplier of specialty pharmaceuticals for many benefit plan

   sponsors, including Indiana University, the University of Nebraska, Fidelity Investments, and

   other employers nationwide. Many of these plan sponsors are national accounts that seek to

   provide health insurance to employees nationwide. CVS’s status as the exclusive supplier of

   many benefit plan sponsors across the country enhances CVS’s status as a “must have” 340B

   contract pharmacy nationwide, and in the local markets where the patients covered by these

   benefit plans reside and seek health care.

          62.     Industry participants widely agree that access to specialty pharmaceuticals is

   becoming increasingly important in selecting contract pharmacies in 340B plans. In 2017,

   Defendant Wellpartner informed covered entities that “the recent and anticipated growth of

   specialty pharmacy necessitates adding specialty pharmacy to your existing pharmacy services,”

   and estimated that spending on expensive specialty pharmaceuticals would quadruple from $87.1

   billion in 2012 to $401.7 billion in 2020. Thus, according to Wellpartner, “The 340B program

   will remain vitally important for safety‐net providers and their patients because expensive

   specialty drugs are a quickly growing share of the pharmaceutical market.” According to

   Wellpartner, although “Health systems want to develop specialty pharmacy services” and

   “Understand the potential for 340B impact”, “Most” covered entities “lack product access [and]

   payer contracts” to develop these programs on the their own, thereby making them reliant on



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   contract pharmacies, and especially CVS, for access to specialty pharmaceuticals for their 340B

   programs.

          63.     Even when CVS does not, through its influence as a PBM or its contracts with

   third party payers, dictate where patients can fill their specialty pharmaceutical prescriptions, it

   still enjoys substantial market shares. When discussing its specialty pharmaceutical business

   publicly, CVS differentiates between “patient directed” and “payer directed” business.

   According to CVS, its “enterprise assets” –including retail pharmacy—“make CVS/specialty the

   pharmacy of choice when patients have options.” CVS identifies Hepatitis C drugs as one

   example where its “national market share” is substantially greater than that of its “nearest

   competitor” in the “patient directed” segment of the specialty pharmacy market.

          64.     CVS’s pending merger with Aetna, a leading health insurer, will further solidify

   CVS’s status as a “must have” contract pharmacy, as insurers can and do steer patients of

   covered entities toward specific pharmacies, including 340B contract pharmacies. Aetna has an

   approximately 19 percent share of the market for small-group (1-100 employees) benefit plans in

   Delaware, an approximately18 percent share of the market for small-group benefit plans in

   Arizona, an approximately 17 percent share of the market for small-group benefit plans in New

   Jersey, an approximately 15 percent share of the market for small-group benefit plans in

   Virginia, an approximately 14 percent share of the market for small-group benefit plans in

   Alaska, and an approximately 12 percent share of the market for small-group benefit plans in

   West Virginia. Aetna also has an approximately 37 percent share of the market for large-group

   (over 100 employees) benefit plans in the District of Columbia, an approximately 17 percent

   share of the market for large-group plans in New Jersey, an approximately 15 percent share of

   the market for large-group plans in Delaware, an approximately 12 percent percent share of the



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   market for large-group benefit plans in Alaska, an approximately 12 percent share of the market

   for large-group plans in Utah, and an approximately 11 percent share of the market for large-

   group plans in Texas. Aetna’s market share in specific Metropolitan Statistical Areas (“MSAs”)

   around the country is even higher, as Aetna is the first or second-largest health insurer in more

   than 40 MSAs. Post-merger, Aetna’s patient population will be steered (through price and non-

   price incentives) to use CVS retail and specialty pharmacies, enhancing CVS’s status as a “must

   have” provider of 340B contract pharmacy services for covered entities located in at least

   Arizona, New Jersey, Virginia, Alaska, the District of Columbia, Delaware, Utah and Texas, and

   specific MSAs across the country.

          65.     Many covered entities already regard access to CVS retail or specialty pharmacies

   as necessary in order to assemble a network of contract pharmacies in the specific local

   geographic markets served by those covered entities. Attached as Exhibit A is a list derived

   from the HRSA database of 365 covered entities with unique database identifiers that are listed

   as of September 2018 as being dependent upon CVS for 30 percent or more of their contract

   pharmacy network.2 Many of the covered entities on this list are among the largest hospitals in

   the United States. (Because Exhibit A provides the number of pharmacies in a covered entity’s

   network, rather than the prescription volumes associated with each pharmacy, Exhibit A

   understates CVS’s importance as a contract pharmacy. In fact, and as alleged at greater length

   below, several covered entities not appearing on Exhibit A have reported to Sentry that they feel

   compelled by CVS’s importance as a contract pharmacy to accede to its illegal and coercive




   2
    An earlier version of Exhibit A, listing fewer covered entities and based on the HRSA database
   as of January 2018, was attached to Sentry’s Complaint, D.E. 1.
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   conduct.) As alleged at greater length herein, CVS has market power over each and every one of

   the covered entities identified in Exhibit A.

          66.     Sentry is routinely informed by covered entities that the covered entities need

   access to CVS retail and specialty pharmacies as 340B contract pharmacies because those CVS

   pharmacies are the pharmacies frequently patronized by large percentages of their patient

   population.

                               340B PROGRAM ADMINISTRATORS

          67.     Covered entities utilizing contract pharmacies remain responsible for the

   compliance of their contract pharmacies with the 340B statute and relevant HSRA guidance.

   This can be a complex and data-intensive task, and covered entities typically utilize computer

   software and technology provided by 340B Solutions Providers to achieve this goal. 340B

   software and technology solutions provided by 340B Solutions Providers allow covered entities

   to help track 340B eligibility, inventory, and replenishment, and to maintain the detailed audit

   trail HRSA requires. 340B Solutions Providers also assist covered entities in selecting contract

   pharmacies for inclusion in their networks, and at times by assisting in the negotiating of

   enhanced dispensing fees and other contract terms with contract pharmacies on behalf of their

   covered entity customers. 340B Solutions Providers charge covered entities a fee for their

   services through various models.

          68.     For covered entities seeking to participate in the 340B program and to utilize

   contract pharmacies, there are no close substitutes for the services, specialized software and

   technology provided by 340B Solutions Providers. Because the data required to track and

   monitor eligible dispensations often resides in different databases within a covered entity,

   manually gathering, reconciling and interpreting these databases to ensure compliance is costly



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   and increases the risk of non-compliance with the 340B statute and relevant HSRA guidance.

   Software programs and technology not designed and optimized for 340B workflows can bring

   covered entities into non-compliance, impose additional expense, or both. As a result, covered

   entities seeking to participate in the 340B program and to utilize contract pharmacies typically

   purchase services and software and technology solutions from 340B Solutions Providers rather

   than attempt to self-provide the services necessary to comply with the 340B statute and HRSA

   guidance.

          69.     Sentry is a leading provider of software and technology solutions for 340B

   administration and compliance. Through its Sentinel™ product, Sentry provides software and

   technology for covered entities that dispense 340B program drugs directly to eligible patients

   within the hospital setting. Through its Sentrex® service Sentry assists covered entities in

   selecting contract pharmacies for inclusion in their networks, and provides the software and

   technology that defines and facilitates the relationship between covered entities and contract

   pharmacies through the covered entity’s policies and procedures and operational parameters.

   Through its BackboneTM product, Sentry also offers to retail pharmacies platform technology

   that allows pharmacy chains to efficiently offer their contract pharmacy services to large

   numbers of covered entities working with a range of different third-party administrators.

          70.     Sentry’s Sentrex® product is typically provided to covered entities pursuant to

   multi-year exclusive contracts.

          71.     More than 10,000 hospitals, clinics, integrated delivery networks (IDNs) and

   pharmacies across the country rely on Sentry’s unique proprietary data set for their analytics,

   procurement, drug utilization and compliance solutions. Since 2003, Sentry’s solutions have

   processed over 7 billion dispensations on more than 1.6 billion claims and currently provide



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   decision support for more than 92 million patients. To date, Sentry has helped hospitals, health

   systems and IDNs realize more than $8.5 billion in savings to help them better meet their safety

   net mission and continue to serve their communities.

       SENTRY’S CONTRIBUTIONS TO CVS’S CONTRACT PHARMACY BUSINESS

          72.     CVS’s growing dominance in the 340B contract pharmacy market is attributable

   in many respects to investments that Sentry made in helping CVS to develop and grow its

   contract pharmacy business. Since 2007, when CVS first approached Sentry for help in entering

   the 340B contract pharmacy market, CVS has consistently benefitted from Sentry’s expertise,

   proprietary knowledge, processes, trade secrets, and software programs, all of which contributed

   significantly to CVS’s growth as a 340B contract pharmacy.

          73.     Many of Sentry’s Sentrex® customers utilize CVS as a contract pharmacy.

   Sentry’s Sentrex® customers utilizing CVS as a contract pharmacy typically start as customers

   of Sentry, not as customers of CVS. It is Sentry that almost always introduces the Sentrex®

   covered entity customer to CVS, and not CVS that introduces the covered entity to Sentry.

          74.     When CVS first approached Sentry, Sentry had already developed a PSA template

   based on years of previous operational experience. The PSA template developed by Sentry is a

   valuable trade secret, embodying Sentry’s know-how and accumulated expertise regarding entry

   into a contract pharmacy arrangement, and which Sentry provided to its hospital clients pursuant

   to confidentiality agreements. That PSA template was provided to CVS in 2007, also subject to

   confidentiality agreement. Beginning in 2007 and continuing through 2013, CVS utilized the

   Sentry-developed PSA template. Beginning in 2013 and continuing to date, CVS based its own

   PSA on the template that Sentry developed. As Sentry continues to make revisions and

   improvements to its PSA template, revisions that reflect Sentry’s continually improving

   understanding of best practices and optimal workflows in the administration of 340B programs,
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   those updates and changes to Sentry’s PSA template were shared with CVS for the benefit of

   CVS. Furthermore, and at CVS’s request, Sentry has invested significant effort and resources

   reviewing, commenting on and improving the CVS-specific PSA template starting in 2013

   through today, without any remuneration and as part of a good faith partnership.

          75.     Beginning in 2011 and continuing to date, Sentry developed and improved the

   operational procedures that CVS uses to offer 340B contract pharmacy services to covered

   entities. Based on the operational procedures that Sentry developed and refined, CVS has

   significantly benefitted, without any remuneration to Sentry, from Sentry’s applied and practical

   knowledge and operational expertise, proficiency and efficiency.

          76.     Beginning in 2003 and continuing through 2017, Sentry developed proprietary

   software programs for administering 340B programs. These software programs contained

   certain valuable features that enhanced the value of Sentry’s 340B Solutions Services to covered

   entities, and provided Sentry with a competitive advantage over other 340B Solutions Providers.

   For example, Sentry developed a Blacklisting Tool, which allowed covered entities to

   proactively exclude certain drugs from their 340B program, thereby enhancing the ability of

   covered entities to administer 340B programs that were both lawful and profitable. Sentry also

   developed proprietary dispensing fee structures, custom reports, and delayed ordering

   functionality in its software. Sentry allowed CVS to access and use these valuable and

   proprietary features of Sentry’s software programs in the provision by CVS of contract pharmacy

   services to covered entities.

          77.     Sentry’s business model is to facilitate the collection, organization, and transfer of

   information between covered entities and pharmacies in a way that is efficient, effective and

   auditable by third parties. The process is difficult, and fraught with potentially high-stakes errors.



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   Over the course of Sentry and Defendant CVS’s business relationship, CVS was provided

   Sentry’s internal procedures and best practices to facilitate this process. This included various

   operational forms Sentry created to contract with entities, work and data flows, and the overall

   internal structure Sentry uses with its 340B technology platform to effectively transfer and

   manage information moving between covered entities and pharmacies. Sentry built this structure

   over years of experience and after millions of dollars of investment. CVS was thus given a front-

   row seat to Sentry’s core business model and internal business methods that make Sentry a

   valuable business partner for covered entities in the 340B marketplace.

           78.    Beginning in approximately 2014 and continuing through the present, Sentry has

   also shared the identity of its Sentrex® customers with CVS. The identity of Sentry’s customers

   is highly confidential and proprietary information with great economic value to Sentry. Sentry

   invests considerable effort, knowledge, time, and expense to identify covered entities interested

   in participating in the 340B program, and in understanding and identifying their capabilities and

   needs. Sentry takes appropriate measures to protect the confidentiality of its customer lists,

   which reflect Sentry’s investment in identifying specific covered entities with specific needs, and

   building relationships with those covered entities. Among other things, the identity of Sentry’s

   Sentrex® customers is protected by the confidentiality provisions in the various agreements,

   discussed below, that CVS and other pharmacies that work with Sentry execute with Sentry

   before they are told the identity of the covered entity that is considering doing business with

   them.

           79.    In recognition of the substantial amount of valuable, proprietary, confidential and

   trade secret information that Sentry shared with CVS over the course of their relationship, Sentry

   and CVS have since 2007 entered into a number of Non-Disclosure and Confidentiality



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   Agreements. CVS and Sentry’s agreements prohibit CVS from using any of the valuable,

   proprietary, confidential and trade secret information that Sentry shared with CVS to compete

   with Sentry.

          80.     In 2016 Defendant CVS Pharmacy and Sentry entered a Mutual Non-Disclosure

   Agreement (the “CVS Mutual NDA”, attached hereto as Exhibit B). The CVS Mutual NDA

   barred disclosure of certain business information exchanged between the parties prior to or after

   the effective date of the agreement. Section 4 of the CVS Mutual NDA imposes a non-

   disclosure obligation, Section 2 of the CVS Mutual NDA defines protected information, and

   Section 9 of the CVS Mutual NDA permits injunctive relief for any breach. The CVS Mutual

   NDA remains in effect.

          81.     In 2014, Defendant CVS Pharmacy and Sentry entered into a still valid contract

   (the “340B Platform Agreement”, attached hereto as Exhibit C) wherein CVS agreed to use

   Sentry as its exclusive provider of 340B platform software services through Sentry’s

   Backbone™ product. Neither CVS nor Sentry has, as of the time of the filing of this Complaint,

   terminated the 340B Platform Agreement.

          82.     Sentry’s 340B Backbone™ platform provides retail pharmacy chains such as

   CVS with a single integration point for their 340B program needs, regardless of the number of

   covered entities and 340B Solutions Providers. Sentry’s Backbone™ has the benefit of

   streamlining pharmacy chain operations, financial reconciliation and inventory processes across

   the entirety of the chain’s 340B program. Sentry independently developed the operational

   parameters, documentation flows, and work processes embodied in the Backbone™ platform

   through significant investments and the benefit of years of experience as a 340B Solutions

   Provider.



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          83.     Section 2.1 of the 340B Platform Agreement required CVS and Sentry to

   collaborate in developing the operational procedures (the “Operational Documentation”) utilized

   by CVS in providing through Sentry’s Backbone™ contract pharmacy services to covered entities

   and the 340B Solutions Providers working with those covered entities.            CVS and Sentry

   collaborated in developing those Operational Documentation based on Sentry’s prior investments

   in developing the operational parameters, documentation flows, and work processes embodied in

   the Backbone™ platform.        Sentry also shared with CVS, among other things, its draft

   documentation flow charts and internal best practices, likewise built and honed through investment

   and years of experience as a 340B Solutions Provider.

          84.     Section 6 of the 340B Platform Agreement requires CVS to keep confidential the

   Operational Documentation and other confidential information provided by Sentry, and to refrain

   from using that information to compete with Sentry. This obligation survives any termination of

   the 340B Platform Agreement.

                      SENTRY’S RELATIONSHIP WITH WELLPARTNER

          85.     Prior to December 2017, Defendant Wellpartner provided 340B administration

   services to certain covered entities contracting with CVS through Sentry’s 340B Backbone™.

          86.     Sentry and Wellpartner shared confidential information in the course of

   facilitating these transactions, including information shared by Sentry at the request of CVS. In

   particular, to facilitate the transmission of information between covered entities (contracting with

   Wellpartner) and CVS (contracting with Sentry), Wellpartner needed access to the proprietary

   configurations and data specifications of Sentry’s software in order to submit properly formatted

   data to Sentry for processing on behalf of CVS.




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          87.     Sentry shared the proprietary configurations and data specifications of Sentry’s

   340B software with Wellpartner (then operating as Wellpartner Inc.) pursuant to a certain 340B

   Backbone Agreement, executed in 2015, and attached hereto as Exhibit D. The 340B Backbone

   Agreement required Wellpartner to comply with the Operational Documentation developed by

   Sentry pursuant to the 340B Platform Agreement. Section 5 of the 340B Backbone Agreement

   requires Wellpartner to keep confidential the Operational Documentation and other confidential

   information provided by Sentry, and to refrain from using that information to compete with

   Sentry. Neither Sentry nor Wellpartner has terminated the 340B Backbone Agreement or caused

   a condition precedent to its termination to occur.

          88.     Before entering into the 340B Backbone Agreement, Sentry and Wellpartner

   (then operating as Wellpartner Inc.) executed in 2014 a Mutual Non-Disclosure Agreement (the

   “Wellpartner Mutual NDA”, attached hereto as Exhibit E), which prohibited Wellpartner from

   using the valuable, proprietary, confidential and trade secret information that Sentry shared with

   Wellpartner to compete with Sentry. Sentry provided Wellpartner with extensive details about

   Sentry’s proprietary products and systems, including on weekly calls discussing Sentry’s

   platforms, pursuant to the Wellpartner Mutual NDA. Section 1of the Wellpartner Mutual NDA

   imposes a non-disclosure obligation, Section 10 defines Confidential Information, and Section 5

   acknowledges that a breach of the agreement would irreparably harm the non-breaching party.

   The Wellpartner Mutual NDA has no expiration date.

        DEFENDANTS’ ANTICOMPETITIVE, TORTIOUS, AND UNFAIR CONDUCT

          89.     On or about December 18, 2017, CVS announced in writing to many of Sentry’s

   Sentrex® customers that it had completed an acquisition of Wellpartner, that Wellpartner would

   be “the exclusive 340B program administrator for all CVS Health retail and specialty



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   notices. To effectuate the transition to Wellpartner, Wellpartner presented Sentry’s covered

   entity customers with mandatory and non-negotiable pharmacy contract amendments.

          92.     All or nearly all of Sentry’s Sentrex® customers have been contacted by CVS and

   Wellpartner and told they had to switch to using Wellpartner as their 340B Solutions Provider

   for all CVS contract pharmacies if they wanted to continue their relationship with CVS. Many

   of the covered entities that CVS and Wellpartner contacted to deliver this message were parties

   to valid and enforceable contracts with Sentry appointing Sentry as the exclusive 340B Solutions

   Provider to those covered entities. These agreements were typically of multi-year duration.

          93.     CVS knew that Sentry delivered 340B software and technology solutions to

   covered entities pursuant to written agreements, and knew that the covered entities to which

   Wellpartner sales representatives were delivering these messages were under contract with

   Sentry. Sentry reminded CVS of this fact in a written communication on December 20, 2017, in

   which Sentry requested CVS to cease and desist from interfering with Sentry’s contracts with

   covered entities. Wellpartner sales representatives continued to contact Sentry’s covered entity

   customers after CVS received this communication from Sentry.




          94.     A number of Sentrex® customers have told their contacts at Sentry that they had

   no choice but to switch to using Wellpartner as their new 340B Solutions Provider for all CVS

   contract pharmacies, in breach of their existing contracts with Sentry. These and other Sentrex®

   customers of Sentry were forced to curtail their business with Sentry due to CVS’s status as a

   “must have” contract pharmacy for many covered entities. For example, one Sentrex® customer



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   communicated to Sentry that it felt “handcuffed” by CVS’s mandate because 75 percent of that

   covered entity’s contract pharmacy relationships were with CVS. Another Sentrex® customer

   terminated its contract with Sentry, writing to Sentry that “I really hate that we must make the

   change but at this point we have little choice.” Remarkably, CVS made up less than 15 percent

   of this covered entity’s contract pharmacy network, showing that the coercive power of CVS’s

   conduct has forced covered entities to breach their contracts with Sentry against their will even

   when CVS’s nominal share of their contract pharmacy networks is below 30 percent. Another

   Sentrex® customer expressed to Sentry its reluctance to accede to CVS’s mandate, although it

   would do so if forced due to its desire to expand its business with CVS. That covered entity

   relied on CVS for only 20 percent of its contract pharmacy business, another example of how

   CVS’s mandate has coercive effect even when CVS makes up less than 30 percent of a covered

   entity’s network. As yet another Sentrex® customer wrote to Sentry after being contacted by a

   Wellpartner representative and being told that it would need to terminate its contract with Sentry

   and move to Wellpartner or lose access to CVS as a contract pharmacy: “CVS is our only

   profitable Contract Pharmacy, we cannot lose them or our program may as well not exist.” This

   covered entity has ten non-CVS contract pharmacies, but regards access to CVS as necessary for

   an effective 340B program, directly showing CVS’s market power over covered entities. Other

   Sentrex® customers contacted by Wellpartner informed Sentry of an intent to renegotiate their

   contracts with Sentry, and/or to not renew those contracts when they came up for renewal.

   Another covered entity contacted by Wellpartner informed Sentry that they would not contract

   with Sentry due in part to CVS’s December 2017 mandate.




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          95.                                                                     , a Sentry covered

   entity customer, sent Sentry a series of writings expressing its regret that it was being forced by

   Defendants to switch against its will to Wellpartner. A March 1, 2018, email to Sentry states:

                     We have been provided with a contract from Wellpartner to
                     provide exclusive service from CVS. As a very small FQHC, the
                     340b revenue from CVS is vital to our financial picture. While we
                     do not want to change our TPA, we feel that in the short run we
                     really do not have another option.

          On March 9, 2018,                                                  sent a termination letter to

   Sentry, stating that “It is with regret” that it was terminating the relationship, that “While we

   appreciate the service your organization has provided, the necessity to switch to another

   administrator to keep the CVS pharmacy contract has forced us to make this change,” and that

   “If this were to change in the future we would gladly consider utilizing the services of Sentry

   Data Systems.” A March 14, 2018, email to Sentry again noted that “Unfortunately, we have

   had to make the decision to utilize the services of another organization to continue [the CVS]

   relationship in the future.” On March 19, 2018,                                                 stated

   to Sentry that:

                     We did not choose to terminate the CVS contract with Sentry
                     because we felt that your organization was not able to deliver, we
                     only did it because of the potential risk of losing the CVS contract
                     altogether. While we agree that CVS should not be allowed to do
                     this, we did not feel that had another option at this time.

          96.        CVS and Wellpartner are aware that covered entities are unable to steer their

   outpatient population or meaningfully influence where patients fill their prescriptions, and that

   for this reason covered entities whose patients frequently fill their prescriptions at CVS

   pharmacies face the loss of substantial revenues if they lose access to CVS as a contract

   pharmacy.



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          97.     On information and belief, Defendants are using the confidential customer list

   Sentry provided them to solicit Sentry customers and coerce them into using Wellpartner’s 340B

   platform. Other than a handful of customer-specific success profiles on its website, Sentry does

   not make the identities of its customers publicly available, and there is no public information that

   would allow CVS or Wellpartner to derive Sentry’s customer list independently. On information

   and belief, Defendants have been as effective as they have been in soliciting Sentry’s Sentrex®

   customers through the use of Sentry’s confidential customer list.

          98.     Although CVS’s December 2017 mandate had stated that CVS would “transition

   all covered entities to Wellpartner by December 31, 2018,” Wellpartner communicated to some

   of Sentry’s covered entity customers that CVS would be converting those customers much

   sooner. For example, one Sentry covered entity customer was told that it would be converted to

   Wellpartner in early 2018, and that “there wasn’t any option except to switch if you wanted to

   maintain CVS as a contract pharmacy.” Another Sentry covered entity customer was told in

   January 2018 by Wellpartner that it must immediately discontinue its use of Sentry’s services for

   all CVS contract pharmacies, and instead use Wellpartner as their 340B Solutions Provider for

   all CVS contract pharmacies.

          99.     Switching 340B software and technology solutions providers is typically a time-

   consuming and complicated task that can take 6 months or more. However, when asked by one

   of Sentry’s covered entity customers how Wellpartner would manage to convert Sentry’s



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   customers to Wellpartner customers with one-month notice, a Wellpartner representative stated

   that “all you have to do is redirect the current Sentry Data Systems feeds to us and we will

   extract and reformat the data to support our solution.”

           100.      Wellpartner’s professed ability and plan to quickly convert Sentry’s covered

   entity customers by accessing Sentry’s proprietary data feeds specifications shows that CVS and

   Wellpartner have misappropriated Sentry’s valuable, proprietary, confidential and trade secret

   information shared with CVS and Wellpartner pursuant to non-disclosure agreements. In

   particular, Wellpartner is using its knowledge of the proprietary configurations and data

   specifications of Sentry’s 340B software, as embodied in the Operational Documentation of the

   340B Backbone Agreement and the 340B Platform Agreement, to quickly convert Sentry’s

   customers to Wellpartner. But-for the misappropriation of Sentry’s valuable, proprietary,

   confidential and trade secret information embodied in the Operational Documentation,

   Wellpartner would be unable to transition Sentry’s customers as quickly as Wellpartner has

   stated it will.

           101.      During the term of the 340B Platform Agreement, CVS asked Sentry to develop

   and beta test customized features and functionality specifically for CVS. Sentry did so, at

   significant expense to Sentry and at no charge to CVS, and shared these custom features with

   CVS pursuant to the non-disclosure provisions of the 340B Platform Agreement. After CVS

   expressed dissatisfaction with Sentry’s customization of its Backbone™ for CVS, Sentry

   expended significant time and money in attempting to debug and rework these custom features

   for CVS. CVS continued to task Sentry with modifications, customizations and testing of

   Backbone™ even at a time when CVS would have already known it would be acquiring

   Wellpartner. As Wellpartner was connecting to CVS through Sentry’s Backbone™ at this time,



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   Wellpartner also (pursuant to the non-disclosure provisions of the 340B Backbone Agreement)

   learned of these customizations of the Backbone™, which facilitated Wellpartner’s ability to

   now quickly switch Sentry’s Sentrex® customers over to its platform by accepting Sentry’s

   proprietary data feed. Unbeknownst to Sentry, CVS was at the same time engaged in developing

   an alternative to Backbone™ with RxStrategies, a competitor of Sentry’s.

          102.    Wellpartner and CVS are also using other valuable, proprietary, confidential and

   trade secret information shared with CVS and Wellpartner pursuant to non-disclosure

   agreements to compete with Sentry. In particular, the other proprietary know-how, processes,

   and trade secrets that Sentry shared with CVS are being used to target and convert Sentry’s

   covered entity customers into customers of Wellpartner more quickly than would have been

   possible without the use of Sentry’s confidential and trade secret information.

          103.    Defendants have refused to provide necessary data and data specifications to

   allow Sentry to continue to offer 340B-related services to covered entities forced to breach their

   contracts with Sentry and use Wellpartner, despite knowing that Sentry had specific covered

   entities that sought to contract with Sentry for this service, and having previously agreed with

   Sentry to provide this information. Defendants’ refusal to provide necessary data and data

   specifications to allow Sentry to continue to offer 340B-related services to covered entities

   forced to deal with Wellpartner is unjustified and an extension of Defendants’ anticompetitive

   and tortious conduct aimed at Sentry and its covered entity customers.

                   FIRST CLAIM FOR RELIEF: UNLAWFUL TYING (15 U.S.C. § 1)

          104.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 103.

          105.    Contract pharmacy services and 340B Solutions Provider services are separate

   products. Covered entities historically have purchased the services from different providers.

   Purchasing contract pharmacy services and 340B Solutions Provider services separately is
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   regarded by covered entities as efficient, in part because purchasing contract pharmacy services

   and 340B Solutions Provider services separately contributes to formation of large and diverse

   networks of competing contract pharmacies.

          106.    CVS’s mandate that covered entities that desire to deal with CVS as a contract

   pharmacy must purchase 340B Solutions Provider services from Wellpartner coerces covered

   entities to purchase 340B Solutions Provider services (the “tied” service) from CVS, not because

   covered entities prefer to do so but only because they must do so in order to obtain access to

   CVS as a contract pharmacy (the “tying” service).

          107.    CVS’s mandate that covered entities that desire to deal with CVS as a contract

   pharmacy must purchase 340B Solutions Provider services from Wellpartner is a per se unlawful

   tying arrangement. Alternatively, CVS’s mandate that covered entities that desire to deal with

   CVS as a contract pharmacy must purchase 340B Solutions Provider services from Wellpartner

   is unlawful under the rule of reason.

          108.    CVS possesses substantial economic power over the tying service, as manifested

   by its ability to impose a burdensome tie of contract pharmacy services and 340B Solutions

   Provider services on covered entities, forcing covered entities to accept 340B Solutions Provider

   services from Wellpartner, something they would not do in a competitive market. CVS’s ability

   to force covered entities to purchase 340B Solutions Provider services from CVS through

   Wellpartner against the preference of those covered entities is direct evidence of CVS’s market

   power over the tying service.

          109.    CVS’s tie of contract pharmacy services and 340B Solutions Provider services

   will substantially foreclose competing providers of 340B Solutions Provider services, harming

   competition in the market for 340B Solutions Provider services. Covered entities forced to



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   purchase 340B Solutions Provider services from Wellpartner will pay substantially higher prices

   for those services than they would have in an unrestrained market. Foreclosing competing

   suppliers of 340B Solutions Provider services from access to covered entities will deprive those

   competing suppliers, including Sentry, of economies of scale, learning by doing, and commercial

   validation, and will in that way reduce the ability of those competing suppliers to impose

   competitive discipline on the price and terms of service imposed by Defendants on covered

   entities. In particular, Sentry and other 340B Solutions Providers benefit from commercial

   engagement with certain large and sophisticated covered entities, which often provide feedback

   and suggestions to Sentry that are used by Sentry to improve its Sentrex® product. Losing

   access to these covered entities will make Sentry and other 340B Solutions Providers less

   effective competitors in the 340B Solutions Provider market. Because covered entities generally

   prefer to deal with a single 340B Solutions Provider, forcing covered entities to use Wellpartner

   to access CVS will also force some covered entities to use Wellpartner for all of their 340B

   Solutions Provider needs, for CVS and non-CVS business alike, an effect that Sentry has already

   observed in the marketplace, causing further injury to Sentry.




          110.    One relevant service market, here the market for the “tying” service, is the market

   for the provision of 340B contract pharmacy services to covered entities. Providers of 340B

   contract pharmacy services to covered entities compete based on their dispensing fees and other

   terms of dealing, their location and their prescription volume, among other factors. The market

   for the provision of 340B contract pharmacy services to covered entities is protected by barriers



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   to entry of new competitors, including increasingly-necessary access to specialty

   pharmaceuticals, and the time and cost of obtaining physical locations that serve the needs of

   covered entities. There are no close substitutes for the services of 340B contract pharmacies, and

   a monopolist of 340B contract pharmacies could profitably increase the price of 340B contract

   pharmacy services to covered entities by a significant and non-transitory amount.

          111.    CVS has market power in the provision of 340B contract pharmacy services to

   specific covered entities located across the country. CVS can and does profitably target these

   covered entities for price increases for 340B Solutions Provider services, in part by forcing them

   to take their 340B Solutions Provider services from Wellpartner, which charges higher

   administrator fees than does Sentry. CVS’s market power over the covered entities identified in

   Exhibit A—all of which are in the national market and many of which are also in the local

   markets specified below—is a result of CVS’s unique product offerings, unmatched access to

   specialty pharmaceuticals, payer contracts, and the inability of covered entities whose patients

   use CVS pharmacies to steer those patients towards other contract pharmacies in the event the

   covered entity loses access to CVS as a contract pharmacy. For those covered entities dependent

   upon access to CVS for a substantial percentage of their 340B program revenues, there are no

   good substitutes for access to CVS as a contract pharmacy, meaning that Defendants have the

   ability to force an unwelcome tie and higher prices on those covered entities.

          112.    There are a number of relevant geographic markets in which CVS competes and

   has market power as a 340B contract pharmacy. One such relevant geographic market is the

   nationwide provision of 340B contract pharmacy services. CVS competes to offer 340B contract

   pharmacy services nationwide, and its closest and most effective competitors in that market are

   other national chain pharmacies. The economies of scale and scope that CVS enjoys from its



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   national footprint are attractive to covered entities and provide CVS a competitive advantage.

   Although covered entities seek to contract with contract pharmacies located in close geographic

   proximity to their physical location, they also seek to contract with contract pharmacies located

   across the country. For example, more than forty-five percent of disproportionate share hospitals

   contract with contract pharmacies located more than 1,000 miles away, often for the provision of

   specialty pharmaceuticals. In addition to its over 9,800 retail locations, CVS offers 340B

   contract pharmacy services to covered entities located across the country from 13 specialty mail

   order pharmacies and 4 mail order dispensing pharmacies. Specialty pharmacies typically fill

   prescriptions from a central location and then deliver the products directly to the consumer’s

   home.




                                                                                                    For

   example, according to Pembroke Consulting, as of July 2018 the typical CVS Specialty location

   had agreements with 214 covered entities located around the country. Attached as Exhibit G is a

   map showing the more than 300 covered entities located around the country that have contracted

   with a single CVS specialty pharmacy in Pennsylvania to provide 340B contract pharmacy

   services. CVS contracts with third-party payers and benefit plan sponsors to serve as their

   exclusive or preferred supplier of specialty pharmaceuticals on a nationwide basis, which drives

   demand for CVS as a 340B contract pharmacy on the part of covered entities nationwide.

   CVS’s anticompetitive conduct as alleged herein takes place on a national scale, and affects

   covered entities across the country. Conversely, the relevant geographic market is appropriately

   limited to the United States, because suppliers of pharmaceuticals located outside the United



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   States and lacking regulatory approvals in the United States and distribution assets in the United

   States do not offer 340B contract pharmacy services. A monopolist of 340B contract pharmacy

   services in the United States could profitably increase the price of 340B contract pharmacy

   services to covered entities by a significant and non-transitory amount.

          113.    In addition to a relevant geographic market that is nationwide, there are also local

   relevant geographic markets where CVS has market power and where the effects of CVS’s

   anticompetitive conduct are felt. CVS competes at a local level for covered entities that require

   access to contract pharmacies located in close proximity to their patient population. CVS’s

   payer contracts, vast footprint of retail pharmacies located within 10 miles or less of covered

   entities’ patient populations, coupled with its ability to deliver certain specialty pharmaceuticals

   through those retail pharmacies and the other unique features of CVS’s integrated business

   model, give CVS substantial competitive advantages and a unique product offering that rivals are

   unable to duplicate. Because covered entities draw patients from the local markets surrounding

   their physical locations, and seek to contract with contract pharmacies located in the same

   geography as their patient population, CVS’s market power in the 340B contract pharmacy

   services market is also manifested in a number of local geographic markets across the county.

          114.    A core-based statistical area (“CBSA”) is a geographic area defined by the federal

   government’s Office of Management and Budget that consists of one or more counties (or

   equivalents) anchored by an urban center of at least 10,000 people plus adjacent counties that are

   socioeconomically tied to the urban center by commuting. Because covered entities draw

   patients from local markets that are limited by the desire of patients to access health care close to

   where they live and work, and contract for contract pharmacy services to serve that local patient

   population, there are local geographic markets relevant to this action that are no broader than



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   entities located in the identified CBSAs draw a substantial majority of their patient population

   from within a 30 mile catchment radius, and need contract pharmacies located in close proximity

   to where their patients live and work, and could not turn to contract pharmacies with locations

   located only outside these CBSAs in response to a price increase for contract pharmacy services

   located within those CBSAs. A monopolist of contract pharmacy services in any of the 22

   CBSAs identified above could profitably increase the price of 340B contract pharmacy services

   to covered entities in those CBSAs by a significant and non-transitory amount. As alleged

   above, CVS’s market share in the 22 identified CBSAs, which is expressed as a percentage of

   CVS store locations within in each CBSA, understates its power as a contract pharmacy, due to

   CVS’s unique product offerings, unmatched access to specialty pharmaceuticals, payer contracts,

   and the inability of covered entities whose patients use CVS pharmacies to steer those patients

   towards other contract pharmacies in the event the covered entity loses access to CVS as a

   contract pharmacy. For those covered entities dependent upon access to CVS for a substantial

   percentage of their 340B program revenues, there are no good substitutes for access to CVS as a

   contract pharmacy, meaning that Defendants have the ability to force an unwelcome tie and

   higher prices on those covered entities.

          116.    CVS’s market power in the relevant geographic markets is amplified by its

   control over access to increasingly important specialty pharmaceuticals and its network of payer

   contracts making CVS the exclusive or preferred supplier of specialty pharmaceuticals for tens

   of millions of patients nationwide. Although specialty pharmaceuticals are dispensed through

   the 340B program nationwide, covered entities select specialty pharmacies for inclusion in their

   network of contract pharmacies based on inherently local considerations, namely the number of

   the covered entities’ patients covered by third-party payers with whom a specialty pharmacy has



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   contracted with and entered into an exclusive or preferred relationship. A specialty pharmacy

   not contracted with payers that are important in a given area are less attractive candidates for

   inclusion in a contract pharmacy’s network of contract pharmacies than specialty pharmacies that

   are contracted with the payers that insure the patients served by the covered entity, especially

   when that contract establishes an exclusive or preferred relationship.

          117.    Sentry has existing covered entity customers in more than half of the identified

   CBSAs, and potential customers in all of the identified CBSAs.

          118.    Another relevant service market, here the market for the “tied” product, is the

   market for 340B Solutions Provider services. 340B Solutions Provider compete on the basis of

   their fees and contract terms to covered entities, and the quality of their software and technology

   solutions, among other factors. In particular, software and technology solutions for

   administration of 340B programs are custom designed for use in the administration of 340B

   programs, and other types of software, or manual administration of 340B programs, are not

   reasonable substitutes for software and technology solutions for administration of 340B

   programs. The market for the provision of 340B Solutions Provider services to covered entities

   is protected by barriers to entry of new competitors, including the time and cost of product

   design, as well as Defendants’ anticompetitive conduct. There are no close substitutes for the

   services of 340B Solutions Providers, and a monopolist of 340B Solutions Provider services

   could profitably increase the price of 340B Solutions Provider services to covered entities by a

   significant and non-transitory amount.

          119.    The relevant geographic market for the 340B Solutions Provider services market

   is nationwide. Sentry, Wellpartner and other 340B Solutions Providers compete for the business

   of covered entities across the country, covered entities select from 340B Solutions Providers



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   offering services from disparate and often remote parts of the country, and the effects of

   Defendants’ anticompetitive conduct will be felt nationwide.

          120.    The anticompetitive effects of CVS’s mandate that covered entities that desire to

   deal with CVS as a contract pharmacy must purchase 340B Solutions Provider services from

   Wellpartner will be felt in at least the “tied” service market (the market for 340B Solutions

   Provider services). By eliminating competing 340B Solutions Providers, CVS will have the

   ability to force covered entities to pay higher 340B administration fees to Wellpartner than are

   currently charged to covered entities by competitors of Wellpartner, including Sentry, leveraging

   and extending CVS’s market power from the 340B contract pharmacy market to the 340B

   Solutions Provider services market. Sentry’s covered entity customers have described

   Wellpartner’s fees as “excessive” and substantially in excess of Sentry’s fees for comparable

   services. As one covered entity communicated to Wellpartner, referring to the prices

   Wellpartner proposed to charge for 340B Solutions Provider services:

                                                 .” Another covered entity sought from Wellpartner

   “




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                 Competition in the “tied” service market (the market for 340B Solutions Provider

   services) will also be harmed by substantially foreclosing competing suppliers of 340B software

   and technology solutions from covered entities forced to deal with CVS through Wellpartner.

   Defendants’ conduct will also create substantial barriers to the ability of Sentry and other 340B

   Solutions Providers to compete for the business of prospective customers.

          121.     The competitive effects of the CVS mandate are felt market wide and are not

   limited to Sentry or to Sentry’s customers.




                                                                                     A not

   insubstantial volume of commerce is affected by CVS’s tie of contract pharmacy services and

   340B Solutions Provider services. Many of Sentry’s largest covered entity clients, including

   several of the largest and most significant covered entities participating in the 340B program,

   have substantial numbers of CVS contract pharmacies in their contract pharmacy networks, and



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   will be foreclosed to Sentry as a result of CVS’s conduct. By Defendants’ own count, at least

       covered entities have been forced to accede to the Defendants’ tie and contract with

   Wellpartner for the provision of 340B Solutions Provider services,

                   .

                   THIRD CLAIM FOR RELIEF: BREACH OF CONTRACT3

          122.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 103.

          123.    Plaintiff and Defendant CVS Pharmacy entered into the 340B Platform

   Agreement, where the parties agreed that Sentry shall be “the sole and exclusive 340B Platform

   Software Services Provider for” CVS “with respect to all Pharmacy Service Agreements”

   between CVS and covered entities, and that CVS would not use Sentry’s Confidential

   Information, as defined in the 340B Platform Agreement, to compete against Sentry.

          124.    Plaintiff and Defendant CVS Pharmacy entered into the CVS Mutual NDA, where

   the parties agreed that CVS would not disclose and/or use Sentry’s confidential business

   information, as defined in the CVS Mutual NDA, including in competition against Sentry.

          125.    Plaintiff and Defendant Wellpartner (then operating under the name Wellpartner

   Inc.) entered into the 340B Backbone Agreement, where Wellpartner agreed that Wellpartner

   would not use Sentry’s Confidential Information, as defined in the 340B Backbone Agreement,

   to compete against Sentry.

          126.    Plaintiff and Defendant Wellpartner (then operating under the name Wellpartner

   Inc.) entered into the Wellpartner Mutual NDA, where the parties agreed that Wellpartner would

   not disclose and/or use Sentry’s confidential business information, as defined in the Wellpartner

   Mutual NDA, including in competition against Sentry.


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    Sentry’s Second, Eighth, and Ninth claims for relief were dismissed pursuant to this Court’s
   August 28, 2018 Order, Dkt. 115.
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          127.    Plaintiff performed each and all obligations under the 340B Platform Agreement,

   340B Backbone Agreement, and the CVS and Wellpartner Mutual NDAs.

          128.    All conditions to create a valid and enforceable contract were met with respect to

   the 340B Platform Agreement, 340B Backbone Agreement, and the CVS and Wellpartner

   Mutual NDAs.

          129.    Defendant CVS stands in material breach of the 340B Platform Agreement due to

   its use of Defendant Wellpartner’s 340B platform to provide 340B platform services to covered

   entities contracting with CVS, and its use of Sentry’s confidential information, as defined in the

   340 Platform Agreement, to compete against Sentry. At all relevant times, Wellpartner has been

   a “third party” to CVS Pharmacy, as that term is used in 340B Platform Agreement. For

   example, the contracts that Defendants are forcing Sentry’s covered entity customers to sign call

   for the covered entity to contract with Wellpartner LLC, and not with CVS, for the provision of

   340B Solutions Provider services.

          130.    Defendant CVS stands in material breach of the CVS Mutual NDA due to its use

   of Defendant Wellpartner’s 340B platform, made more effective through the use of Sentry’s

   confidential information, as defined in the CVS Mutual NDA.

          131.    Defendant Wellpartner stands in material breach of the 340 Backbone Agreement

   due to its use of Sentry’s confidential information, as defined in the 340 Backbone Agreement, to

   compete against Sentry.

          132.    Defendant Wellpartner stands in material breach of the Wellpartner Mutual NDA

   due to its use of Sentry’s confidential information, as defined in the Wellpartner Mutual NDA.

          133.    Plaintiff has been and continues to be damaged by the breach of both CVS and

   Wellpartner’s contracts.



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     FOURTH CLAIM FOR RELIEF: TORTIOUS INTERFERENCE WITH CONTRACT

          134.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 121.

          135.    Plaintiff held valid contracts with covered entity customers.

          136.    These contracts included, among other things, exclusivity clauses which state the

   covered entity customers may only use Plaintiff’s 340B software and technology solutions

   during the contract term.

          137.    The Defendants knew of these contracts with the covered entity customers.

          138.    Defendants intentionally and unjustifiably interfered with Plaintiff’s contracts,

   which has induced and will induce certain covered entities to not perform or seek to renegotiate

   the contracts. Defendants contacted Sentry’s customers and demanded that they either switch to

   Defendants’ platform (and breach their contract with Sentry), or lose all business with Defendant

   CVS. This has resulted in, for example, a customer under contract with Sentry (which cannot be

   named due to confidentiality obligations), terminating its valid and exclusive Sentrex® contract

   with Sentry in order to use Wellpartner as a 340B Solutions Provider and thereby to continue

   accessing CVS as a contract pharmacy. Other of Sentry’s Sentrex® customers have

   communicated to Sentry that they believe that they have no choice but to also breach their

   contracts with Sentry and deal instead with Wellpartner, due to their need to retain access to

   CVS as a contract pharmacy.

          139.    Defendants’ conduct has caused and will continue to cause damage to Plaintiff.

       FIFTH CLAIM FOR RELIEF: TORTIOUS INTERFERENCE WITH BUSINESS
                               RELATIONSHIPS

          140.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 121.




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           141.    Plaintiff has business relationships with certain covered entities with an

   expectation of actual or probable future economic benefit. Some of those covered entities have

   declined to contract with Plaintiff due to Defendants’ conduct as alleged herein.

           142.    Defendants knew about the existence of Plaintiff’s relationships with these

   covered entities, and that Plaintiff would receive future economic benefit from the covered

   entities. For instance, one of Sentry’s covered entity customers was seeking to close certain

   agreements with CVS pharmacies that would have closed but for Defendants’ refusal to use

   Sentry’s 340B platform. Sentry’s customers, moreover, are being told that they must switch to

   Defendants’ platform or lose business with CVS, while assuring the customers that the transition

   will be smooth. At least one customer noted it felt “handcuffed” by Defendants’ ultimatum

   given Defendant CVS’ size and importance in the marketplace.

           143.    Defendants intentionally engaged in wrongful acts and conduct designed to

   interfere with and disrupt the relationships between Plaintiff and various covered entities.

           144.    Defendants’ interference was made possible and more effective by their unlawful

   use of Plaintiff’s trade secrets and other confidential business information, including regarding

   Plaintiff’s data specifications.

           145.    Defendants’ engaged in unjustified interference with Plaintiff’s economically

   advantageous relationships with covered entities.

           146.    As a result of Defendants’ conduct, Plaintiff’s economic relationship with current

   and potential covered entity clients was damaged and Plaintiff was injured.

         SIXTH CLAIM FOR RELIEF: MISAPPROPRIATION OF TRADE SECRETS
                               (18 U.S.C. § 1836)

           147.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 121.




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          148.    Defendants had access to Sentry’s trade secret information. This includes

   Sentry’s data specifications, operational documentation, internal processes and procedures built

   through costly development and years of industry experience. As noted above, Defendants had

   access to Sentry’s core business model: this internal, proprietary process for best organizing and

   transferring data between covered entities and pharmacies. This internal process included a wide

   swath of information and procedures that made up Sentry’s core business, including data work

   flows, operational procedures, data collection best practices, form agreements, and general

   know-how as to how to deal with covered entities. Part of Defendants’ collection of Sentry’s

   internal information includes Sentry’s data feed generated by covered entities operating within

   Sentry’s framework. This data feed is fed into Sentry’s 340B platform. Defendants have,

   among other things, taken Sentry’s process and knowledge of Sentry’s data feed to build a

   system that allows Defendants to compete with Sentry. Indeed, Wellpartner’s ability to

   seamlessly use the data feed created by Sentry’s customers using Sentry’s proprietary protocols

   shows that Wellpartner is using Sentry’s trade secret information to compete with Sentry.

   Defendants also obtained access to Sentry’s internal customer list.

          149.    Plaintiff maintains control and ownership over its internal processes and

   operations that make up its core business model and its internal customer list.

          150.    Plaintiff has taken reasonable steps to maintain the full scope of its proprietary

   process and procedure a secret, including through agreements with third parties that barred

   disclosure of related information and internal security measures to prevent public disclosure or

   use. The same is true for Plaintiff’s internal customer list.

          151.    Defendants accessed, reviewed, maintained and/or employed Sentry’s internal

   process to, among other things, create a 340B software and technology platform that could



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   operate seamlessly with Sentry customers’ data feed. Defendants then used this platform to

   compete for Sentry’s covered entity customers, telling the covered entities they could seamlessly

   switch to Defendants’ 340B platform by using Sentry’s data feed.

           152.    Defendants knew they were using this trade secret information without Sentry’s

   permission, including Sentry’ customer list.

           153.    Defendants knew they had an obligation to maintain the secrecy of the trade

   secrets and limit their use.

           154.    Sentry derives significant economic value from its internal operational procedures

   and best practices, and they are not generally known to, and not readily ascertainable by, other

   persons who may be able to obtain economic value from their disclosure. The same is true for

   Sentry’s internal customer list.

           155.    As a result of Defendants’ use of the trade secrets, Plaintiff has suffered and

   continues to suffer damages.

       SEVENTH CLAIM FOR RELIEF: MISAPPROPRIATION OF TRADE SECRETS
                            (FLA. STAT. § 688.002)

           156.    Plaintiff repeats and re-alleges allegations set forth in paragraphs 1 through 121.

           157.    Defendants had access to Sentry’s trade secret information. This includes

   Sentry’s internal method and process built over years of industry experience and costly

   development. As noted, Defendants had access to Sentry’s core business model: Sentry’s

   internal method and process for best organizing and transferring data between covered entities

   and pharmacies, including information and procedures that made up Sentry’s core business, such

   as data work flows, operational procedures, data collection best practices, form agreements, and

   general know-how as to how to deal with covered entities generated through years of experience

   in the industry and millions of dollars of investment. Part of Defendants’ collection of Sentry’s

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   internal process included Sentry’s data feed generated by covered entities operating within

   Sentry’s framework. Defendants have, among other things, taken Sentry’s process and

   knowledge of Sentry’s data feed to build a system that allows Defendants to compete for

   Sentry’s customers. Defendants also obtained access to Sentry’s internal customer list.

           158.    Plaintiff maintains control and ownership over its internal processes and

   operations that make up its core business model and its internal customer list.

           159.    Plaintiff has taken reasonable steps to maintain the full scope of its proprietary

   process and procedure a secret, including through agreements with third parties that barred

   disclosure of related information, and internal security measures to prevent public disclosure or

   use. The same is true for Sentry’s internal customer list.

           160.    Defendants accessed, reviewed, maintained and/or employed Sentry’s internal

   process to, among other things, create a 340B software and technology platform that could

   operate seamlessly with Sentry customers’ data feed. Defendant then used this platform to

   attack Sentry’s covered entity customers, telling the covered entities they could seamlessly

   switch to Defendants’ 340B platform by using Sentry’s data feed.

           161.    Defendants knew that were using this trade secret information without Sentry’s

   permission, including Sentry’s internal customer list.

           162.    Defendants knew they had an obligation to maintain the secrecy of the trade

   secrets and limit their use.

           163.    Sentry derives major economic value from its internal operational procedures and

   best practices, and they are not generally known to, and not readily ascertainable by, other

   persons who may be able to obtain economic value from their disclosure. The same is true for

   Sentry’s customer list.



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          164.    As a result of Defendants’ use of the trade secrets, Plaintiff has suffered and

   continues to suffer damages.

                                          PRAYER FOR RELIEF

          165.    To remedy these illegal acts, Plaintiff requests the Court:

          a.      Enter an injunction permanently enjoining the Defendants from the other unlawful

   conduct of the Defendants as alleged herein;

          b.      Award actual, compensatory and trebled damages, as applicable, in favor of the

   Plaintiff and against all Defendants, jointly and severally, and punitive damages, including all

   interest thereon;

          c.      Award Plaintiff reasonable costs and expenses incurred in this action, including

   attorney’s fees and expert fees; and

          d.      Any such further relief as the Court deems appropriate.

          Sentry hereby demands a trial by jury on all issues so triable.

                                                  /S/ CARL E. GOLDFARB

                                                  Stephen N. Zack, Esq.
                                                  100 SE Second Street, Suite 2800
                                                  Miami, Florida 33131
                                                  Telephone: (305) 539-8400
                                                  Facsimile: (305) 539-1307
                                                  Email: szack@bsfllp.com

                                                  Carl E. Goldfarb, Esq.
                                                  Travis Robert-Ritter, Esq.
                                                  401 East Las Olas Boulevard, Suite 1200
                                                  Fort Lauderdale, Florida 33301
                                                  Telephone: (954) 356-0011
                                                  Facsimile: (954) 356-0022
                                                  Email: cgoldfarb@bsfllp.com
                                                  Email: tritter@bsfllp.com

                                                  Christopher G. Renner, Esq.
                                                  (pro hac vice)
                                                  1401 New York Ave., NW

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                                      Washington, DC 20005
                                      Telephone: (202) 237-2727
                                      Facsimile: (202) 237-6131
                                      Email: crenner@bsfllp.com

                                      Attorneys for Plaintiff Sentry Data Systems, Inc.




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